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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

    In re:                                                              Case No. 3:16-bk-02232-JAF

    PREMIER EXHIBITIONS, INC., et al.,1                                 Chapter 11 (Jointly Administered)

      Debtors.


       SUMMARY COVER SHEET TO THE AMENDED2 FINAL APPLICATION OF
    GLASSRATNER ADVISORY AND CAPITAL GROUP LLC FOR ALLOWANCE OF
      COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
      EXPENSES INCURRED AS FINANCIAL ADVISORS TO THE DEBTORS FOR
     SERVICES RENDERED FROM SEPTEMBER 30, 2016 THROUGH JUNE 30, 2019,
    AND FOR ESTIMATED FEES THROUGH AND INCLUDING CONFIRMATION OF
                     THE DEBTORS’ CHAPTER 11 PLAN

         In accordance with the Local Bankruptcy Rules for the Middle District of Florida (the

“Local Rules”), GlassRatner Advisory & Capital Group LLC (the “Applicant”), financial

advisors for the above-captioned debtors and debtors in possession (collectively, the “Debtors”),

submits this summary (this “Summary”) of fees and expenses sought as actual, reasonable, and

necessary in the fee application to which this Summary is attached (the “Application”) for the

period from September 30, 2016 through June 30, 2019 (the “Actual Period”), for allowance of

compensation for professional services of and reimbursement of actual and necessary expenses

estimated to be incurred from July 1, 2019 up to and including confirmation of the Debtors’

Plan3 (the “Estimated Period”, together with the Actual Period, the “Application Period”).

         The Applicant submits the Application as a final fee application pursuant to Sections 328,

1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: Premier Exhibitions, Inc. (4922); Premier Exhibitions Management, LLC (3101); Arts and
Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075); Premier Exhibitions NYC,
Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309). The Debtors’ service
address is c/o Troutman Sanders LLP, 600 Peachtree Street NE, Suite 3000, Atlanta, Georgia 30308.
2
  This Application is being amended to correct certain inconsistencies and discrepancies in the amounts listed for
compensation sought.
3
  See Plan of Liquidation of the Debtors under Chapter 11 of the Bankruptcy Code [D.E. 81] (the “Plan”).
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 330, 331 and 503(b) of the Bankruptcy Code, Bankruptcy Rule 2016, Local Rule 2016-1, and the

 Guidelines of the United States Trustee. The Applicant submitted each of its seven interim

 applications   4   pursuant to the Compensation Order5 (as defined in the Application) and has

 received no objections to the interim applications.

                                 General Information
Name of Applicant:                        GlassRatner Advisory & Capital Group LLC
Services Provided to:                     RMS Titanic, Inc. and certain of its affiliates,
                                          as Debtors and Debtors in possession, from the
                                          Retention Date through the dismissal of RMS
                                          Titanic, Inc.’s Chapter 11 case
Date of Retention:                        September 30, 2016
Date of Order Authorizing the Debtors to
                                          December 8, 2016
Retain the Applicant [D.E. 372]
                Summary of Fees and Expenses Sought in the Application
Actual Period
Actual Period:                            September 30, 2016 through June 30, 2019
Amount of Compensation Sought as $529,549.00
Actual, Reasonable, and Necessary for the
Actual Period:
Amount of Expense Reimbursement $29,223.26
Sought as Actual, Reasonable, and
Necessary for the Actual Period:
Total    Compensation      and   Expense $558,772.26
Reimbursement Requested for the Actual
Period:
Estimated Period
Estimated Period:                         July 1, 2019 through and including

 4
   Seventh Interim Application for Allowance and Payment of Compensation and Reimbursement of Expenses of
 GlassRatner as Financial Advisors to Debtors for Services Rendered from October 1, 2018 Through January 31,
 2019 [D.E. 1329]; Sixth Interim Application for Allowance and Payment of Compensation and Reimbursement of
 Expenses of GlassRatner as Financial Advisors to Debtors for Services Rendered from June 1, 2018 Through
 September 30, 2018 [D.E. 1250]; Fifth Interim Application for Allowance and Payment of Compensation and
 Reimbursement of Expenses of GlassRatner as Financial Advisors to Debtors for Services Rendered from February
 1, 2018 Through May 31, 2018 [D.E. 1078]; Fourth Interim Application for Allowance and Payment of
 Compensation and Reimbursement of Expenses of GlassRatner as Financial Advisors to Debtors for Services
 Rendered from October 1, 2017 Through January 31, 2018 and DIP Financing Success Fee [D.E. 965]; Third
 Interim Application for Allowance and Payment of Compensation and Reimbursement of Expense of GlassRatner as
 Financial Advisors to Debtors for Services Rendered from June 1, 2017 Through September 30, 2017 [D.E. 788];
 Second Interim Application for Allowance and Payment of Compensation and Reimbursement of Expense of
 GlassRatner Advisory & Capital Group LLC as Financial Advisors to Debtors for Services Rendered from February
 1, 2017 Through May 31, 2017 [D.E. 647]; First Interim Application for Allowance and Payment of Compensation
 and Reimbursement of Expense of GlassRatner Advisory & Capital Group LLC as Financial Advisors to Debtors for
 Services Rendered from September 30, 2016 Through January 31, 2017 [D.E. 619].
 5
   As further detailed in the Application, the Court has vacated the Compensation Order.
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                                              confirmation of the Debtors’ Chapter 11 Plan
Amount of Compensation Sought as $20,000.00
Actual, Reasonable, and Necessary for the
Estimated Period:
Amount of Expense Reimbursement $1,500.00
Sought as Actual, Reasonable, and
Necessary for the Estimated Period:
Total     Compensation       and      Expense $21,500.00
Reimbursement       Requested       for   the
Estimated Period:
            Summary of Past Requests for Compensation and Prior Payments
Total Amount of Compensation Previously $523,604.00
Requested Pursuant to the Interim
Compensation Order to Date:
Total Amount of Expense Reimbursement $29,223.26
Previously Requested Pursuant to the
Interim Compensation Order to Date:
Total Compensation Approved Pursuant to $370,474.00
the Interim Compensation Order to Date:
Total Expense Reimbursement Approved $10,861.35
Pursuant to the Interim Compensation
Order to Date:
Compensation Sought in this Application $104,075.00
Not Yet Allowed (includes compensation
for the Estimated Services Period (as
defined below)):
Expense Reimbursement Sought in this $18,361.91
Application Not Yet Allowed:
Amount of Original N/A                        Current Balance:      $0.00
Retainer:
Blended Hourly           $320.92              Cumulative:           $320.92
Rate this
Application:
This is an interim or final application:      Final
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                                                  PRIOR APPLICATIONS FILED:

                                            Requested                                 Approved                 Paid        Holdback
 Filed          Period        Fees         Hrs.      Blended      Exps.           Fees          Exps.          Total
                                                      Rate
               11/30/16
6/20/17                     $139,376.00    441.2     $315.90     $5,974.31      $139,376.00    $5,974.31    $145,350.31
               through                                                                                                           $-
                1/31/17
                2/1/17     $116,567.00     367.4     $317.28     $1,049.91     $116,567.00     $1,049.91    $117,616.91
7/6/17                                                                                                                           $-
               through
               5/31/17
                                          ~1043.4
                6/1/17
10/23/17                   $114,531.006              $109.77     $3,837.13      $114,531.00    $3,837.13    $118,368.13          $-
               through                       7
               9/30/17
             10/1/17
3/1/18                      $94,687.508    52.50     $375.00     $1,420.24       Pending       Pending      $17,170.249
             through                                                                                                        $3,935.5
             1/31/18
              2/1/18
 6/27/18                    $23,782.50     68.70      346.18     $5,338.06       Pending       Pending       $17,752.77
             through                                                                                                        $11,367.79
             5/31/18
              6/1/18                                                                                                        $40,298.91
10/31/18                    $30,235.00    104.80      288.50    $10,063.91       Pending       Pending         $0.00
             through
             9/30/18
             10/1/18                                                                                                         $5,964.70
 2/28/19                     $4,425.00     11.80      375.00     $1,539.70       Pending       Pending         $0.00
             through
             1/31/19
         Total              $523,604.00   2089.8                                                                           $61,566.90
                                                     $214.66    $29,223.26      $370,474.00   $10,861.35    $416,258.36
                                             10




                               [Remainder of Page Intentionally Left Blank; Signatures follow]

           6
             $100,000 of the fees billed in the Third Interim Fee Application includes four $25,000.00 fixed monthly fees
           approved by the Court for services provided by the Applicant in connection with Sale Process Activities. See [D.E.
           693].
           7
             The Applicant estimates having spent approximately 1,000 hours of professional time in connection with the
           successful DIP financing of the Debtors. For the avoidance of doubt, the professional time spent in connection with
           the DIP financing was not billed on an hourly basis but on a success fee, as explained paragraph twenty-five of the
           Application. Accordingly, unless otherwise stated, any reference to the exact amount of professional time spent by
           the Applicant, will not include the approximately 1,000 hours expended by the Applicant in connection with the DIP
           Facility.
           8
             $75,000 of the fees billed in the Fourth Interim Fee Application includes a success fee of $75,000.00 incurred by
           the Debtors in connection with the successful DIP financing obtained by the Debtors. See [D.E. 965].
           9
              This amount was paid to the Applicant pursuant to the August 17, 2016 Order Granting Motion to Establish
           Procedures to Permit Monthly Payment of Interim Fee Applications of Chapter 11 Professionals [D.E. 141].
           10
              Includes the approximately 1,000 hours of professional time expended by the Applicant in connection with the
           DIP financing.
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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

    In re:                                                     Case No. 3:16-bk-02232-JAF

    PREMIER EXHIBITIONS, INC., et al.,1                        Chapter 11 (Jointly Administered)



      Debtors.


      AMENDED FINAL APPLICATION FOR ALLOWANCE AND PAYMENT OF
    COMPENSATION AND REIMBURSEMENT OF EXPENSES OF GLASSRATNER AS
      FINANCIAL ADVISORS TO DEBTORS FOR SERVICES RENDERED FROM
     SEPTEMBER 30, 2016 THROUGH JUNE 30, 2019, AND FOR ESTIMATED FEES
         THROUGH AND INCLUDING CONFIRMATION OF THE DEBTORS’
                            CHAPTER 11 PLAN

         GlassRatner Advisory & Capital Group LLC (the “Applicant”), as financial advisors to

Premier Exhibitions, Inc. and certain of its affiliates, as Debtors and Debtors in Possession (the

“Debtors”), pursuant to Section 330 of Title 11 of the United States Code, 11 U.S.C. § 101, et

seq. (the “Bankruptcy Code”) and Rule 2016(a) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), hereby files its Final Application for Allowance and Payment of

Compensation and Reimbursement of Expenses of GlassRatner As Financial Advisors to Debtors

for Services Rendered From September 30, 2019 Through June 30, 2019, and for Estimated Fees

Through and Including Liquidation of the Debtors’ Under the Debtors’ Chapter 11 Plan (the

“Application”) for professional services rendered and expenses incurred by the Applicant during

the period of September 30, 2019 through and including June 30, 2019 (the “Actual Period”),

and for professional services estimated to be rendered from July 1, 2019 through and including


1
 The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: Premier Exhibitions, Inc. (4922); Premier Exhibitions Management, LLC (3101); Arts and
Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075); Premier Exhibitions NYC,
Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309). The Debtors’ service
address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.
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confirmation of the Debtors’ Plan2 (the “Estimated Period”, together with the Actual Period, the

“Application Period”). In support thereof, the Applicant states:

                                       PRELIMINARY STATEMENT

           Throughout the Application Period, the Applicant devoted a tremendous amount of

resources to marketing the Debtors’ assets to a global buyer pool in order to provide the highest

and best return to the estates. Indeed, the Applicant procured an initial offer of $30 million, only

to have the offer subsequently withdrawn due to unfounded accusations against the prospective

purchaser. The second transaction procured by the Applicant (with Premier Acquisition (as

defined below)), is, to date, the only consummated and funded source of providing creditors with

a meaningful recovery. Accordingly, as set forth herein, the professional services that Applicant

provided in the Application Period were reasonable, necessary, and beneficial to the Debtors and

their estates. Accordingly, the Application should be granted, and Applicant should be awarded

its requested fees and expenses.

                    RETENTION OF APPLICANT AND REQUESTED AWARD

           1.       This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§

157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(A). Venue is proper

before this Court pursuant to 28 U.S.C. § 1408. The statutory predicates for the relief requested

herein are sections 328, 330, 331 and 503(b) of the Bankruptcy Code.

           2.       On June 14, 2016 (the “Petition Date”), the Debtors each filed a voluntary petition

in this Court for relief under chapter 11 of the Bankruptcy Code, commencing the above-

captioned case (the “Bankruptcy Case”).

           3.       On September 30, 2016, the Debtors submitted the Application to Employ the

firm of GlassRatner Advisory & Capital Group LLC as Financial Advisors for the Debtors [D.E.

2
    See Plan of Liquidation of the Debtors under Chapter 11 of the Bankruptcy Code [D.E. 81] (the "Plan").
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     247] (the “Employment Application”). The Employment Application was granted via order of

     this Court on December 8, 2016 [D.E. 372].

             4.       On June 7, 2017, the Debtors submitted the Supplemental Application to Employ

     the Applicant to extend the scope of the engagement to financial advisory and banking services

     in connection with a potential sale of all or part of the Debtors’ assets [D.E. 614] (the

     “Supplemental Application”). The Supplemental Application was granted via order of this Court

     on August 3, 2017 [D.E. 693] (the “Supplemental Order”).

             5.       Subsequent to the Debtors’ Application for employment, the Debtors filed its

     Motion to Establish Procedures to Permit Monthly Payment of Interim Fee Applications of

     Chapter 11 Professionals [D.E. 89] which was approved by the Court’s Order entered on August

     17, 2016 [D.E. 141] (the “Compensation Order”). On May 15, 2019, the Court entered an Order

     [D.E. 72]3 vacating the Compensation Order.

             6.       The Applicant submits this Application, pursuant to Sections 328, 330, 331 and

     503(b) of the Bankruptcy Code, Bankruptcy Rule 2016, Local Rule 2016-1, and the Guidelines

     of the United States Trustee (the “Guidelines”). The Applicant requests a final award of fees

     incurred by the Applicant for services rendered and estimated to be rendered, as financial

     advisors to the Debtors, in the amount of $529,549.00 and reimbursement for the actual and

     necessary expenses incurred by the Applicant during the Actual Period in the amount of

     $29,223.26, as follows:

Number – Monthly          Period (Inclusive)                Fees                  Expenses               Total
Fee Statement

     3
       Debtor RMS Titanic, Inc. (Case No. 3:16-02230) – designated as the "Lead Debtor" for purposes of joint
     administration of these Chapter 11 Cases – was dismissed from these proceedings on or about March 8, 2019. See
     [Case No. 3:16-bk-02230; D.E. 1336]. After the dismissal of RMS Titanic, Inc., Premier (Case No. 3:16-bk-02232)
     was designated as the new "Lead Debtor" for the purposes of joint administration of these Chapter 11 Cases.
     Accordingly, references to docket entries filed after March 8, 2019 refer to the Premier docket (Case No. 3:16-
     02232), unless otherwise noted.
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First                           10/9/2016 – 10/31/2016              $13,800.50              $6.80                   $13,807.30

Second                          11/1/2016 – 11/30/2016              $57,369.00              $25.40                  $57,394.40

Third                           12/1/2016 – 12/31/2016              $39,256.50              $5,262.47               $44,518.97

Fourth                          1/1/2017 – 1/31/2017                $28,950.00              $679.64                 $29,629.64

Fifth                           2/1/2017 – 2/28/2017                $45,452.00              $1,013.80               $46,465.80

Sixth                           3/1/2017 – 3/31/2017                $50,311.00              $10.43                  $50,321.43

Seventh                         4/1/2017 – 4/30/2017                $13,465.50              $22.44                  $13,487.94

Eight                           5/1/2017 – 5/31/2017                $7,338.50               $3.24                   $7,341.74

Ninth                           6/1/2017 – 6/30/2017                $5,427.50               $3,029.94               $8,457.44

Tenth4                          6/1/2017 – 6/30/2017                $25,000.00              $0.00                   $25,000.00

Eleventh                        7/1/2017 – 7/31/2017                $3,442.00               $660.40                 $4,102.40

Twelfth                         7/1/2017 – 7/31/2017                $25,000.00              $0.00                   $25,000.00

Thirteenth                      8/1/2017 – 8/31/2017                $3,786.50               $116.72                 $3,903.22

Fourteenth                      8/1/2017 – 8/31/2017                $25,000.00              $0.00                   $25,000.00

Fifteenth                       9/1/2017 – 9/30/2017                $1,875.00               $30.07                  $1,905.07

Sixteenth                       9/1/2017 – 9/28/2017                $25,000.00              $0.00                   $25,000.00

Seventeenth                     10/1/2017 – 10/31/2017              $862.50                 $0.00                   $862.50

Eighteenth                      11/1/2017 – 11/30/2017              $3,150.00               $57.33                  $3,207.33

Nineteenth                      12/1/2017 – 12/31/2017              $8,550.00               $1,329.06               $9,879.06

Twentieth                       1/1/2018 – 1/31/2018                $7,125.00               $33.85                  $7,158.85

Twenty-First                    2/1/2018 – 2/28/2018                $15,937.50              $4,755.12               $20,692.62



          4
            Fee Statements ten, twelve, fourteen, and sixteen represent fixed monthly fees of $25,000.00 for services rendered
          in connection with the sale process.
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Twenty-Second                3/1/2018 – 3/31/2018              $300.00                 $7.65                  $307.65

Twenty-Third                 5/1/2018 – 5/31/20185             $7,545.00               $575.29                $8,120.29

Twenty-Fourth                6/1/2018 – 6/30/2018              $16,872.50              $4,982.53              $21,855.03

Twenty-Fifth                 7/1/2018 – 7/31/2018              $1,737.50               $2,379.48              $4,116.98

Twenty-Sixth                 8/1/2018 – 8/31/2018              $11,625.00              $2,701.90              $14,326.90

Twenty-Seventh               10/1/2018 – 10/31/20186           $4,425.00               $1,539.70              $5,964.70

Twenty-Eighth                2/1/2019 – 2/28/20197             $5,945.00               $0.00                  $5,945.00

Success Fee Statement        10/1/2016 – 5/31/2017             $75,000.00              $0.00                  $75,000.00


                7.      In addition, and pursuant to Local Rule 2016-1(c)(2)(C), the Applicant seeks an

       estimated $20,000.00 in fees and $1,500.00 in expenses for the Estimated Period.

                8.      This request is the Applicant’s final application to the Court for compensation and

       reimbursement of expenses for services rendered as financial advisors to the Debtors. No

       understanding exists between the Applicant and any other person for the sharing of

       compensation sought by the Applicant.

                In accordance with the Guidelines, the following exhibits are annexed to this Application:

                Exhibit 1:       Summary of Professional Time;

                Exhibit 2:       Summary of Professional Time by Activity Code Category;

                Exhibit 3:       Summary and Breakdown of Requested Reimbursement of Expenses and
                                 Disbursements; and

                Exhibit 4:       Detailed Description of the Services Rendered and Expenses and
                                 Disbursements.



       5
         There were no fees or expenses invoiced for the period of April 1, 2018 through April 30, 2018.
       6
         There were no fees or expenses invoiced for the period of September 1, 2018 through September 30, 2018.
       7
         There were no fees or expenses invoiced for the period of November 1, 2018 through January 31, 2019, and for the
       period of March 1, 2019 through June 30, 2019.
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       9.      The Applicant has expended a total of 1104.80 hours during the Application

Period as of the date hereof. This time does not factor in time the Applicant has not yet

expended but estimates doing so in connection with its estimated fees. Exhibit 1 contains a list

of the Applicant’s professionals who have provided services to the Debtors during the

Application Period, the hourly rate charged by each and a summary of time expended by each.

Exhibit 2 contains a summary of professional time by activity code as required by, and in

compliance with, the Guidelines. Exhibit 3 contains a summary of the Applicant’s total actual

and necessary out-of-pocket expenses and disbursements, on behalf of the Debtors, for which the

Applicant seeks reimbursement in accordance with Section 330(a)(2) of the Bankruptcy Code,

the Bankruptcy Rules and the Guidelines. The expenses and disbursements summarized in

Exhibit 3 are those which the Applicant typically would invoice to its non-bankruptcy clients.

Exhibit 4 contains: (i) a daily description of the services rendered and the hours expended by the

various professionals of the Applicant who performed services in this case; and (ii) a detailed

schedule of the expenses and disbursements for which the Applicant seeks reimbursement. The

Applicant has prepared Exhibit 4 based on, among other things, contemporaneous daily time

records maintained by the Applicant’s professionals who rendered services in this case.

                                         BACKGROUND

       10.     The factual background regarding the Debtors, including their business

operations, capital and debt structure, and the events leading to the filing of this bankruptcy case,

are set forth in detail in the Chapter 11 Case Management Summary [D.E. 8] (the “Case

Summary”).

       11.     The Debtors continue to manage and operate their business as debtors in

possession under Bankruptcy Code sections 1107 and 1108.
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       12.     On August 24, 2016, the United States Trustee appointed an Official Committee

of Unsecured Creditors and an Official Committee of Equity Security Holders [D.E. 166, 167].

                      INDEXING OF TASKS BY ACTIVITY CODES

       13.     As set forth in the Exhibits to this Application, the Applicant has organized its

time records by activity codes in accordance with the Guidelines. Accordingly, each of the time

entries of the Applicant’s professionals have been indexed into the categories listed below.

       Case Administration: Coordination and compliance activities, including assistance in
       the preparation of statement of financial affairs; schedules; list of contracts; United States
       Trustee interim statements and operating reports.

       Asset Analysis and Recovery: Identification and review of potential assets including
       causes of action and non-litigation recoveries.

       Accounting and Auditing: Review of financial documents and other accounting related
       services.

       Meetings of and Communications with Creditors and Equity Committee: Preparing
       for and attending meetings with creditors and the equity committee. Communicating with
       creditors and equity committee counsel.

       Business Operations: Conducted meetings with executives and reviewed documents
       regarding business operations. On these issues, the Applicant conferred regularly with
       counsel to the Official Committee of Unsecured Creditors and Official Committee of
       Equity Security Holders of Premier Exhibitions, Inc. as to the operations, cash flow, and
       related issues.

       Corporate Finance: Matters under 361, 363 and 364 including cash collateral and
       secured claims; loan document analysis. Analysis, consultation and drafting in connection
       with the restructuring of agreements, including financing agreements.

       Plan and Disclosure Statement: Analysis of issues and counseling Debtors in matters
       related to generating a plan of reorganization and drafting a disclosure statement,
       including research and analysis for estimated recoveries for unsecured creditors and a
       liquidation analysis.

       Claims Analysis and Objections: Review and analysis of matters related to claims
       administration and bar date matters, including objections and other related contested
       matters.

       Business Analysis: Review and analysis of Debtors’ business and issues related to the
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       ongoing operations of the debtor-in-possession including issues related to taxes,
       financial statements, and budgets.

       Valuation: Review and analysis of Debtors’ business, historical financials and
       projections, reports, industry searches, industry comparables, and other sources of
       information to determine valuation of the Debtors’ business.

       Fee Application Matters/Objections: Preparation and review of fee applications.

       Sales Process Activities: In connection with the potential sale of the Debtors’ assets,
       the Applicant has completed tasks related to marketing preparation, including the
       development of a target sales price, preparation of an information memorandum,
       establishing and maintaining the due diligence data room and identification of
       appropriate prospective buyers. During the marking phase, the Applicant contacted
       prospective buyers and worked with the Debtors and its professionals to review letters
       of intent and expressions of interest. The Applicant has also attended meetings and
       completed other tasks related to the sales process.

                                DESCRIPTION OF SERVICES

Case Administration

       14.     The Applicant assisted and counseled the Debtors with regard to matters

concerning the financial administration of the Chapter 11 case. The Applicant worked closely

with the Debtors’ attorneys, attended multiple conferences and corresponded with the Debtor’s

management and the Office of the United States Trustee on all open matters before the Court and

the ongoing issues concerning the administration of this case.        The Applicant conducted

numerous internal meetings concerning task lists, and various other matters dealing with the

general administration of the case.

       The Applicant expended a total of 62.8 hours in this category and is requesting

$23,550.00 for the services rendered in this category.

Asset Analysis and Recovery

       15.     The Applicant assisted and counseled the Debtors with regard to matters

concerning asset analysis and recovery.
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       The Applicant expended a total of 39.8 hours in this category and is requesting $6,589.00

for the services rendered in this category.

Accounting and Auditing

       16.     The Applicant assisted the Debtors by providing accounting related services in its

review and audit of the Debtors’ financial records.

       The Applicant expended a total of 0.7 hours in this category and is requesting $262.50 for

the services rendered in this category.

Meetings of and Communications with Creditors and Equity Committee

       17.     The Applicant prepared for and attended the section 341 meetings of creditors. In

addition, the Applicant had many communications with creditors and their counsel.

       The Applicant expended a total of 45.9 hours in this category and is requesting

$20,090.50 for the services rendered in this category.

Business Operations

       18.     The Applicant conducted numerous meetings with executives and reviewed

documents regarding business operations. On these issues, the Applicant conferred regularly

with counsel to the Official Committee of Unsecured Creditors and Official Committee of Equity

Security Holders of Premier Exhibitions, Inc. as to the operations, cash flow, and related issues.

       The Applicant expended a total of 17.70 hours in this category and is requesting

$6,637.50 for the services rendered in this category.

Corporate Finance

       19.     The Applicant assisted and counseled the Debtors with regard to cash flow

projections and cash collateral.
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       The Applicant expended a total of 0.5 hours in this category and is requesting $187.50 for

the services rendered in this category.

Business Analysis

       20.     The Applicant assisted and counseled the Debtors with the review and analysis of

matters related to the ongoing operations of the debtor-in-possession including issues related to

taxes, financial statements, and budgets, as well as substantial time devoted to the analysis of the

Debtor’s sale and exit strategies.

       The Applicant expended a total of 559.5 hours in this category and is requesting

$154,448.50 for the services rendered in this category.

Plan and Disclosure Statement

       21.     The Applicant assisted Debtors in matters related to formulating a plan of

reorganization and related disclosure statement in these cases, including analysis related to the

estimated creditor recoveries and liquidation analysis.

       The Applicant expended a total of 211.7 hours in this category and is requesting

$83,661.50 for the services rendered in this category.

Claims Analysis and Objections

       22.     The Applicant reviewed and analyzed matters related to claims administration and

bar date matters, including objections and other related contested matters.

       The Applicant expended a total of 13.6 hours in this category and is requesting $4,492.00

for the services rendered in this category.

Fee Applications

       23.     The Applicant spent time reviewing and preparing fee applications.
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        The Applicant expended a total of 0.50 hours in this category and is requesting $187.50

for the services rendered in this category.

Valuation

        24.      The Applicant reviewed and analyzed Debtors’ business, historical financials and

projections, reports, industry searches, industry comparables, and other sources of information to

determine valuation of the Debtors’ business.

        The Applicant expended a total of 152.1 hours in this category and is requesting

$54,442.50 for the services rendered in this category.

Success Fee

        25.      The Applicant provided financial advisory services to the Debtors in connection

with the Debtors’ process of obtaining a successful Financing (as defined in the Fourth Interim

Application).8

        The Applicant provided services to the Debtors in connection with the Financing on a

contingency fee basis and the Applicant is requesting a success fee of $75,000.00, the equivalent

of one and half percent (1.5%) of the net proceeds obtained in the financing, as agreed to by the

Debtors in the Engagement Letter (as defined in the Fourth Interim Application).

Fixed Fee – Sale Process Activities

        26.      The Applicant provided financial advisory services to the Debtors in connection

with the sale of substantially all of the assets of the Debtors, including, but not limited to,

preparation of marketing materials, development of a target sales price, preparation of an

information memorandum, and identification of appropriate prospective buyers.



8
 See Fourth Interim Application for Allowance and Payment of Compensation and Reimbursement of Expenses of
GlassRatner as Financial Advisors to Debtors for Services Rendered from October 1, 2017 Through January 31,
2018 and DIP Financing Success Fee [D.E. 965] (the “Fourth Interim Application”).
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        The Applicant provided certain services to the Debtors in connection with the sale

process on a fixed fee basis and the Applicant is requesting a total fee of $100,000.00, reflecting

four separately monthly fee statements of $25,000.00.9

                           EVALUATION OF SERVICES RENDERED;
                            FIRST COLONIAL CONSIDERATIONS

        27.      This Application has presented the nature and extent of the professional services

the Applicant has rendered in connection with its representation of the Debtors for which the

Applicant seeks compensation. The recitals set forth in the daily diaries attached hereto

constitute only a summary of the time spent. A mere reading of the time summary annexed

hereto alone cannot completely reflect the full range of services the Applicant rendered and the

complexity of the issues and the pressures of time and performance which have been placed on

the Applicant in connection with these cases.

        28.      American Benefit Life Ins. Co. v. Baddock (In re First Colonial Corp.), 544 F.2d

1291 (5th Cir. 1977), enumerates twelve factors a bankruptcy court should evaluate in awarding

fees.   First Colonial remains applicable in the Eleventh Circuit to the determination of

reasonableness of fees to be awarded under the Bankruptcy Code. Grant v. George Schumann

Tire & Battery Co., 908 F.2d 874 (11th Cir. 1990); Collier on Bankruptcy, 330.05[2] [a] at 330-

33 through 330-37 (L. King 15th ed. 1991); see also Bonner v. City of Prichard, 661 F.2d 1206,

1209 (11th Cir. 1981). The twelve factors are:

        (1)      The time and labor required;
        (2)      The novelty and difficulty of the questions presented;
        (3)      The skill required to perform the legal services properly;
        (4)      The preclusion from other employment by the attorney due to acceptance of the
                 case;
        (5)      The customary fee for similar work in the community;

9
 See Third Interim Application for Allowance and Payment of Compensation and Reimbursement of Expense of
GlassRatner as Financial Advisors to Debtors for Services Rendered from June 1, 2017 Through September 30,
2017 [D.E. 788]
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       (6)     Whether the fee is fixed or contingent;
       (7)     The time limitations imposed by the client or circumstances;
       (8)     The amount involved and results obtained;
       (9)     The experience, reputation and ability of the attorneys;
       (10)    The undesirability of the case;
       (11)    The nature and length of the professional relationship with the client; and
       (12)    Awards in similar cases.

First Colonial, 544 F.2d at 1298-99.

       29.     Based on the standards set forth in Section 330 of the Bankruptcy Code and First

Colonial, the Applicant believes that the fair and reasonable value of its services rendered during

the period covered by this Application is $529,549.00 plus expenses of $29,223.26.

               A.      Time, Nature and Extent of Services Rendered, Results Obtained and
                       Related First Colonial Factors

       30.     The foregoing summary, together with the exhibits attached hereto, details the

time, nature and extent of the professional services of the Applicant rendered (or, for the

Estimated Period, to be rendered) for the benefit of the estates during the Application Period.

The total number of hours expended, 1104.80 hours recorded, reveals the extensive time devoted

to this matter by the Applicant on a vast spectrum of issues which have arisen in this case during

the Application Period.

                B.     Novelty and Difficulty of Questions Presented

       31.     The issues that have arisen in this case during the period encompassed by this

Application demanded and will continue to demand a high level of skill. The Applicant spent

considerable time reviewing documents and the Debtors’ operations.            The Applicant also

devoted significant time to marketing the Debtors’ assets to a global audience for the purchase of

the Debtors’ assets and embarked on an exhaustive marketing campaign that lasted over an entire

year. These marketing efforts included the difficult and lengthy process of (i) developing a

targeted list of potential bidders which included more than 140 parties, (ii) setting up a diligence
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room whereby potential bidders could access necessary information on the assets of the Debtors

and (iii) reviewing confidentiality agreements for each potential bidder who sought to participate

in the bidding process and receive access to the diligence materials; approximately 30 of such

confidentiality agreements were executed.

                  C.    Skill Requisite to Perform Services Properly

       32.       In rendering services to the Debtors, the Applicant demonstrated substantial skill

and expertise in the areas of financial advisory services, general commercial matters, and

negotiation.

       D.        Preclusion from Other Employment by Professional due to Acceptance of
                 Case

       33.       The Applicant has devoted substantial time in the representation of the Debtors as

more fully appears on Exhibit 1. The Applicant is aware of no other specific employment that

was precluded as a result of its accepting this case, but had the Applicant not accepted this

employment, the time spent in this case would have been spent on other matters that would pay

an hourly compensation on a current basis.

            E.   Customary Fee

       34.       The hourly rate charged by the Applicant, as set forth in Exhibits 1 and 2 ranges

from is $95 to $595, which is customary for professionals in Florida of similar skill and

experience.

       F.        Whether Fee is Fixed or Contingent

       35.       The Applicant’s compensation in this matter is subject to approval of the Court

and is, therefore, contingent. The Court should consider this factor, which militates in favor of a

fee award in the amount requested. The amount requested is consistent with the fee that the

Applicant would charge its clients in other non-contingent, bankruptcy and commercial cases.
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       G.      Time Limitations Imposed by Client or Other Circumstances

       36.     The circumstances of this case occasionally imposed serious time constraints on

the Applicant due to the necessity for rapid resolution of significant issues.

       H.      Experience, Reputation and Ability of Professionals

       37.     The Applicant is an established financial advisory services firm and its members

and associates working on this case are experienced in matters of this kind. The Applicant

enjoys a fine reputation and has demonstrated substantial ability in the fields of bankruptcy,

financial advisory and business reorganization.

         I.    “Undesirability” of Case

       38.     This case is not undesirable. The Applicant is privileged to have the opportunity

to represent the Debtors and to appear before the Court in this case.

       J.      Nature and Length of Professional Relationship with Client

       39.     The Debtors and Applicant’s professional relationship began on June 1, 2016.

       K.      Awards in Similar Cases

       40.     The amount requested by the Applicant is reasonable in terms of awards in cases

of similar magnitude and complexity. The compensation that the Applicant requests comports

with the mandate of the Bankruptcy Code, which directs that services be evaluated in light of

comparable services performed in non-bankruptcy cases in the community.

                                         CONCLUSION

        WHEREFORE, the Applicant respectfully requests the Court to enter an order (i)

awarding it the sum of $529,549.00 as compensation for services rendered and $29,223.26 as

reimbursement for actual and necessary expenses incurred during the course of the Applicant’s

representation of the Debtors during the Application Period; (ii) authorizing and directing the

Debtor to pay the Applicant 100% of the compensation for a total amount of $529,549.00 and
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100% of Costs in the amount of $29,223.26 for a total amount of $558,772.26, less any

amounts paid to date, representing the aggregate fees and costs sought by the Applicant herein;

and (iii) 100% of the compensation for services to be rendered and expenses to be incurred

during the Estimated Period in the amount of $20,000.00 in estimated fees and $1,500.00 in

estimated expenses to be incurred, granting such other and further relief as the Court deems

appropriate.



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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
filed with the Clerk of the Court using CM/ECF on August 15, 2019. I also certify that the
foregoing document is being served this day on the following counsel of record via transmission
of Electronic Filing generated by CM/ECF:

 Jay B. Verona, Esq.                          Jill E. Kelso, Esq.
 Shumaker, Loop & Kendrick, LLP               Miriam G. Suarez, Esq.
 101 E. Kennedy Blvd., Suite 2800             Office of the United States Trustee
 Tampa, FL 33602                              400 W. Washington Street, Suite 1100
 (813) 229-7600                               Orlando FL 32801
 jverona@slk-law.com                          (407) 648-6301 ext. 137
 Attorneys for George F. Eyde                 jill.kelso@usdoj.gov
 Orlando, LLC and Louis J. Eyde               Miriam.g.suarez@usdoj.gov
 Orlando, LLC                                 Attorneys for Guy G. Gebhardt,
                                              Acting U.S. Trustee for Region 21

 Scott M. Grossman, Esq.                      Ari Newman, Esq.
 Greenberg Traurig                            Greenberg Traurig, P.A.
 401 East Las Olas Boulevard, Suite 2000      333 S.E. 2nd Avenue, Suite 4400
 Fort Lauderdale, FL 33301                    Miami, FL 33131
 (954) 768-5212                               (305) 579-0500
 grossmansm@gtlaw.com                         newmanar@gtlaw.com
 Attorneys for Lang Feng, Haiping Zou,        Attorneys for Lang Feng, Haiping Zou,
 Jihe Zhang, High Nature Holdings             Jihe Zhang, and High Nature Holdings
 Limited and PacBridge Capital Partners       Limited
 (HK) Ltd.

 Jason B. Burnett, Esq.                       Andrew T. Jenkins, Esq.
 GrayRobinson, P.A.                           Bush Ross, P.A.
 50 N. Laura Street, Suite 1100               P.O. Box 3913
 Jacksonville, FL 32202                       Tampa, FL 33601-3913
 (904) 598-9929                               (813) 224-9255
 jason.burnett@gray-robinson.com              ajenkins@bushross.com
 Attorneys for 417 Fifth Avenue Real          Attorneys for Bank of America, N.A.
 Estate, LLC
        Case 3:16-bk-02232-JAF        Doc 160     Filed 08/15/19    Page 24 of 29



Matthew J. Troy, Esq.                        Kathy A. Jorrie, Esq.
U.S. Dept. of Justice                        Pillsbury Winthrop Shaw Pittman LLP
1100 L Street NW, Suite 10030                725 S. Figueroa Street, Suite 2800
Washington, DC 20005                         Los Angeles, CA 90017
(202) 514-9038                               (213) 488-7251
matthew.troy@usdoj.gov                       Kathy.jorrie@pillsburylaw.com
Attorneys for the United States Department   Attorneys for AEG Presents, LLC
of Commerce, National Oceanic and
Atmospheric Administration

Brian D. Equi, Esq.                          J. Ellsworth Summers, Jr., Esq.
Goldberg Segalla, LLP                        Burr Forman, LLP
121 S. Orange Avenue, Suite 1500             50 N. Laura Street, Suite 3000
Orlando, FL 32801                            Jacksonville, FL 32202
(407) 458-5608                               (904) 232-7200
bequi@goldbergsegalla.com                    esummers@burr.com
salamina@goldbergsegalla.com                 Attorneys for Michael J. Little
sherndon@goldbergsegalla.com
Attorneys for Structure Tone, Inc.

Norman P. Fivel, Esq.                        D. Marcus Braswell, Jr., Esq.
Assistant Attorney General                   Sugarman & Susskind, P.A.
Office of the New York State                 100 Miracle Mile, Suite 300
Attorney General                             Coral Gables, FL 33134
Civil Recoveries Bureau,                     (305) 529-2801
Bankruptcy Litigation Unit                   mbraswell@sugarmansusskind.com
The Capitol                                  Attorneys for Theatrical Protective Union,
Albany, NY 12224-0341                        Local No. One, IATSE
(518) 776-2264
norman.fivel@ag.ny.gov
Attorneys for New York Dept. of
Taxation and Finance

Chris Broussard, Esq.                        Richard R. Thames, Esq.
Suzy Tate, P.A.                              Thames Markey & Heekin, P.A.
14502 N. Dale Mabry Highway, Suite 200       50 N. Laura Street, Suite 1600
Tampa, FL 33618                              Jacksonville, FL 32202
(813) 264-1685                               (904) 358-4000
cbrouss@suzytate.com                         rrt@tmhlaw.net
Attorneys for The Armada Group GP, Inc.      Attorneys for Official Committee of
                                             Unsecured Creditors
         Case 3:16-bk-02232-JAF           Doc 160   Filed 08/15/19    Page 25 of 29



Avery Samet, Esq.                             Peter J. Gurfein, Esq.
Jeffrey Chubak, Esq.                          Roye Zur, Esq.
Storch Amini, PC                              Landau Gottfried & Berger LLP
140 East 45th Street, 25th Floor              1880 Century Park East, Suite 1101
New York, NY 10017                            Los Angeles, CA 90067
(212) 490-4100                                (310) 557-0050
asamet@samlegal.com                           pgurfein@lgbfirm.com
jchubak@samlegal.com                          rzur@lgbfirm.com
Attorneys for Official Committee of           Attorneys for Official Committee of Equity Security
Unsecured Creditors                           Holders of Premier Exhibitions, Inc.

Jacob A. Brown, Esq.                          Skyler M. Tanner, Esq.
John B. Macdonald, Esq.                       Lane Powell PC
David E. Otero, Esq.                          601 SW Second Avenue, Suite 2100
Katherine C. Fackler, Esq.                    Portland, OR 97204
Akerman LLP                                   tanners@lanepowell.com
50 N. Laura Street, Suite 3100                beldingt@lanepowell.com
Jacksonville, FL 32202                        docketing-pdx@lanepowell.com
(904) 798-3700                                Attorneys for Oregon Museum of Science and
jacob.brown@akerman.com                       Industry
john.macdonald@akerman.com
David.otero@akerman.com
katherine.fackler@akerman.com
Attorneys for the Official Committee of
Equity Security Holders of Premier
Exhibitions, Inc.

T. David Mitchell, Esq.                       Howard Siegel, Esq.
Brenner Kaprosy Mitchell, L.L.P.              945 McKinney Street, PMB 434
30050 Chagrin Blvd., Suite 100                Houston, TX 77002
Pepper Pike, OH 44124                         (713) 984-4801
(216) 292-5555                                howard@eucinv.com
tdmitchell@brenner-law.com                    Attorney for Euclid Investments, LP
Attorneys for CRI Properties, Ltd.            And Euclid Claims Recovery LLC
         Case 3:16-bk-02232-JAF        Doc 160    Filed 08/15/19    Page 26 of 29



Susan R. Sherrill-Beard, Esq.                Garrett A. Nail, Esq.
U.S. Securities and Exchange Commission      John F. Isbell, Esq.
Office of Reorganization                     Thompson Hine LLP
950 East Paces Ferry Road, N.E.              3560 Lenox Road, Suite 1600
Suite 900                                    Atlanta, GA 30326
Atlanta, GA 30326                            (404) 541-2900
(404) 842-7626                               garrett.nail@thompsonhine.com
sherrill-beards@sec.gov                      john.isbell@thompsonhine.com
atlreorg@sec.gov                             Attorneys for Bay Point Capital Partners, LP
Attorneys for U.S. Securities and
Exchange Commission

Steven R. Fox, Esq.                          Stephen D. Busey, Esq.
Fox Law Corporation                          Asghar A. Syed, Esq.
17835 Ventura Blvd., Suite 306               Smith Hulsey & Busey
Encino, CA 91316                             225 Water Street, Suite 1800
srfox@foxlaw.com                             Jacksonville, FL 32202
Attorneys for Titanic Entertainment          (904) 359-7700
Holdings                                     busey@smithhulsey.com
                                             asyed@smithhulsey.com
                                             Attorneys for the Ad Hoc Group of Equityholders

Jennifer Feldsher, Esq.                      Patricia Ann Redmond, Esq.
David L. Lawton, Esq.                        Stearns Weaver, et al.
Bracewell LLP                                150 West Flagler Street, Suite 2200
1251 Avenue of the Americas                  Miami, FL 33130
New York, NY 10020                           (305) 789-3200
(212) 508-6100                               predmond@stearnweaver.com
Jennifer.feldsher@bracewell.com              Attorneys for the Trustees of the National Maritime
David.laweton@bracewell.com                  Museum
Attorneys for the Ad Hoc Group of
Equityholders

Timothy Graulich, Esq.                       Jason B. Burnett, Esq.
James I. McClammy, Esq.                      Ashlea A. Edwards, Esq.
Davis Polk & Wardwell LLP                    GrayRobinson, P.A.
450 Lexington Avenue                         50 N. Laura Street, Suite 1100
New York, NY 10017                           Jacksonville, FL 32202
(212) 450-4000                               (904) 598-9929
Timothy.graulich@davispolk.com               jason.burnett@gray-robinson.com
James.mcclammy@davispolk.com                 ashlea.edwards@gray-robinson.com
Attorneys for the Trustees of the National   Attorneys for Ramparts, Inc. d/b/a Luxor Hotel
Maritime Museum                              and Casino
Steven Z. Szanzer, Esq.                      Robert P. Charbonneau, Esq.
Davis Polk & Wardwell LLP                    Agentis PLLC
450 Lexington Avenue                         55 Alhambra Plaza, Suite 800
        Case 3:16-bk-02232-JAF           Doc 160   Filed 08/15/19   Page 27 of 29



New York, NY 10017                           Coral Gables, FL 33134
(212) 450-4000                               (305) 722-2002
Steven.szanzer@davispolk.com                 rpc@agentislaw.com
Attorneys for Royal Museum Greenwich         Attorneys for Responsible Person Mark C. Healy

Thomas J. Francella, Jr., Esq.               John T. Rogerson, III, Esq.
Cozen O’Connor                               Jamie W. Olinto, Esq.
1201 North Market Street, Suite 1001         Thomas P. White, Esq.
Wilmington, DE 19801                         Adams and Reese LLP
(302) 295-2000                               501 Riverside Avenue, Suite 601
Tfrancella@cozen.com                         Jacksonville, FL 32202
Attorneys for Ian Whitcomb                   (904) 355-1700
                                             John.rogerson@arlaw.com
                                             Jamie.olinto@arlaw.com
                                             Tom.white@arlaw.com
                                             Attorneys for Mark A. Sellers, Jack H. Jacobs
                                             and Sellers Capital, LLC
Alan F. Curley, Esq.
Alan R. Dolinko, Esq.
Robinson Curley P.C.
300 S. Wacker Drive, Suite 1700
Chicago, IL 60606
(312) 663-3100
acurley@robinsoncurley.com
adolinko@robinsoncurley.com
Attorneys for Mark A. Sellers, Jack H.
Jacobs and Sellers Capital, LLC

Via U.S. Mail

A-1 Storage and Crane                        ABC Imaging
2482 197th Avenue                            5290 Shawnee Road, Suite 300
Manchester, IA 52057                         Alexandria, VA 22312

A.N. Deringer, Inc.                          ATS, Inc.
PO Box 11349                                 1900 W. Anaheim Street
Succursale Centre-Ville                      Long Beach, CA 90813
Montreal, QC H3C 5H1
        Case 3:16-bk-02232-JAF   Doc 160   Filed 08/15/19   Page 28 of 29



Broadway Video                       CBS Outdoor/Outfront Media
1619 Broadway                        185 US Highway 48
New York, NY 10019                   Fairfield, NJ 07004

Dentons Canada LLP                   Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor          709 Miner Avenue
Vancouver, BC V6C 3R8                Scarborough, ON M1B 6B6

Expedia, Inc.                        George Young Company
10190 Covington Cross Drive          509 Heron Drive
Las Vegas, NV 89144                  Swedesboro, NJ 08085

Gowlings                             Hoffen Global Ltd.
550 Burrard Street                   305 Crosstree Lane
Suite 2300, Bental 5                 Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications           MNP LLP
5230 W. Patrick Lane                 15303 - 31st Avenue
Las Vegas, NV 89118                  Suite 301
                                     Surrey, BC V3Z 6X2

Morris Visitor Publications          NASDAQ Stock Market, LLC
543 Broad Street                     805 King Farm Blvd.
Augusta, GA 30901                    Rockville, MD 20850

National Geographic Society          Pallet Rack Surplus, Inc.
1145 - 17th Avenue NW                1981 Old Covington Cross Road NE
Washington, DC 20036                 Conyers, GA 30013

Screen Actors Guild                  Seaventures, Ltd.
1900 Broadway                        5603 Oxford Moor Blvd.
5th Floor                            Windemere, FL 34786
New York, NY 10023

Sophrintendenza Archeologica         Syzygy3, Inc.
di Napoli e Pompei                   231 West 29th Street
Piazza Museo 19                      Suite 606
Naples, Italy 80135                  New York, NY 10001
        Case 3:16-bk-02232-JAF          Doc 160   Filed 08/15/19    Page 29 of 29



Time Out New York                           TPL
1540 Broadway                               3340 Peachtree Road
New York, NY 10036                          Suite 2140
                                            Atlanta, GA 30326

TSX Operating Co.                           Verifone, Inc.
70 West 40th Street                         300 S. Park Place Blvd.
9th Floor                                   Clearwater, FL 33759
New York, NY 10018

WNBC - NBC Universal Media                  Jonathan B. Ross, Esq.
30 Rockefeller Center                       Gowling WLG (Canada) LLP
New York, NY 10112                          550 Burrard Street, Suite 2300, Bentall 5
                                            Vancouver, BC V6C 2B5

United States Attorney’s Office             Christine R. Etheridge, Esq.
Middle District of Florida                  Bankruptcy Administration
300 N. Hogan Street, Suite 700              Wells Fargo Vendor Financial Services, LLC
Jacksonville, FL 32202                      PO Box 13708
                                            Macon, GA 31208

B.E. Capital Management Fund LP             TSX Operating Co., LLC
Thomas Branziel                             c/o James Sanna
P.O. Box 206                                70 W. 40th Street
N. Stonington, CT 06359                     New York, NY 10018
Creditor Committee                          Creditor Committee

Dallian Hoffen Biotechnique Co., Ltd.       AEG Presents LLC
c/o Ezra B. Jones                           c/o Managing Member
305 Crosstree Lane                          800 W. Olympic Blvd., Suite 305
Atlanta, GA 30328                           Los Angeles, CA 90015
Creditor Committee

AEG Presents LLC                            AEG Presents LLC
c/o Managing Member                         c/o CT Corporation System, Reg. Agent
425 W. 11th Street                          ATTN: Amanda Garcia
Los Angeles, CA 90015-3459                  818 West Seventh Street, Suite 930
                                            Los Angeles, CA 90017

                                                  /s/ Danie F. Blanks
                                                         Attorney
